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 1   DAVID H. KRAMER, SBN 168452
     Email: dkramer@wsgr.com
 2   MAURA L. REES, SBN 191698
     Email: mrees@wsgr.com
 3   WILSON SONSINI GOODRICH & ROSATI
     Professional Corporation
 4   650 Page Mill Road
     Palo Alto, CA 94304-1050
 5   Telephone: (650) 493-9300

 6   ERIC P. TUTTLE, SBN 248440
     Email: eric.tuttle@wsgr.com
 7   WILSON SONSINI GOODRICH & ROSATI
     Professional Corporation
 8   701 Fifth Avenue, Suite 5100
     Seattle, WA 98104-7036
 9   Telephone: (206) 883-2500

10   Counsel for Defendants
     GOOGLE LLC and ALPHABET INC.
11

12                               UNITED STATES DISTRICT COURT
13                             NORTHERN DISTRICT OF CALIFORNIA
14                                        SAN JOSE DIVISION
15

16   JINGNA ZHANG, an individual; SARAH            )    CASE NO.: 5:24-cv-02531-EJD
     ANDERSEN, an individual; HOPE LARSON, an )
17   individual; and JESSICA FINK, an individual,  )    DEFENDANTS’ REQUEST FOR
                                                   )    JUDICIAL NOTICE AND
18                   Individual and Representative )    CONSIDERATION OF MATERIALS
                     Plaintiffs,                   )    INCORPORATED BY REFERENCE
19                                                 )    IN SUPPORT OF MOTION TO
            v.                                     )    DISMISS COMPLAINT
20                                                 )
     GOOGLE LLC and ALPHABET INC.,                 )    Judge: Hon. Edward J. Davila
21                                                 )
                    Defendants.                    )
22                                                 )
                                                   )
23                                                 )
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     DEFENDANTS’ REQUEST FOR JUDICIAL NOTICE AND                      CASE NO.: 5:24-CV-02531-EJD
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 1          In considering Defendants Google LLC and Alphabet Inc.’s (collectively, “Defendants”)

 2   motion to dismiss, Defendants hereby request that the Court take judicial notice of, and/or order

 3   incorporated by reference, the documents listed below:

 4          1.      A certified Certificate of Registration for U.S. Copyright No. TX 9-082-399,

 5                  titled “Adulthood is a Myth: A ‘Sarah’s Scribbles’ 2021 Wall Calendar.” This

 6                  document is attached hereto as Exhibit 1 to the Declaration of Qifan Huang in

 7                  Support of Defendants’ Request for Judicial Notice (“Huang Declaration”).

 8          2.      A certified Certificate of Registration for U.S. Copyright No. TX 8-207-926,

 9                  titled “Adulthood Is a Myth: A Sarah’s Scribbles Collection.” This document is

10                  attached hereto as Exhibit 2 to the Huang Declaration.

11          3.      A certified Certificate of Registration for U.S. Copyright No. TX 8-564-573,

12                  titled “Herding Cats: A Sarah’s Scribbles Collection.” This document is attached

13                  hereto as Exhibit 3 to the Huang Declaration.

14          4.      A post from Plaintiff Sarah Andersen’s X (formerly, Twitter) account, posted on

15                  December 23, 2015. Attached as Exhibit 4 to the Huang Declaration, this

16                  document is publicly available online at

17                  https://x.com/SarahCAndersen/status/679691764836515844.

18          5.      A post from Plaintiff Sarah Andersen’s X account, posted on February 3, 2016.

19                  Attached as Exhibit 5 to the Huang Declaration, this document is publicly

20                  available online at https://x.com/SarahCAndersen/status/694905848053809153.

21          6.      A post from Plaintiff Sarah Andersen’s X account, posted on October 24, 2020.

22                  Attached as Exhibit 6 to the Huang Declaration, this document is publicly

23                  available online at https://x.com/SarahCAndersen/status/1320010279103627265.

24          7.      A certified deposit copy for U.S. Copyright No. TX 6-879-805, titled “Chiggers.”

25                  This document is attached hereto as Exhibit 7 to the Huang Declaration.

26          As set forth below, the Court may take judicial notice of these documents under Fed. R.

27   Evid. 201, and may properly consider them on Defendants’ motion to dismiss.

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 1                                               DISCUSSION

 2            On a motion to dismiss, the Court may consider materials that are judicially noticeable.

 3   See, e.g., In re Facebook, Inc. Secs. Litig., 477 F. Supp. 3d 980, 1008 (N.D. Cal. 2020) (Davila,

 4   J.). Separately, under the incorporation-by-reference doctrine, on a motion to dismiss “a court

 5   may consider a writing referenced in a complaint but not explicitly incorporated therein if the

 6   complaint relies on the document and its authenticity is unquestioned.” Swartz v. KPMG LLP,

 7   476 F.3d 756, 763 (9th Cir. 2007). The doctrine extends to situations where a plaintiff’s claim

 8   “depends on the contents of a document,” even when “the plaintiff does not explicitly allege the

 9   contents of that document in the complaint.” Knievel v. ESPN, 393 F.3d 1068, 1076 (9th Cir.

10   2005).

11            Exhibits 1–3, certified Certificates of Registration for Plaintiffs’ works at issue, and

12   Exhibit 7, certified deposit copy for Plaintiff Hope Larson’s work “Chiggers,” may be

13   considered on both grounds. Certified records from the U.S. Copyright Office or the Library of

14   Congress, such as certificates of registration and deposit copies of registered copyrights that were

15   submitted pursuant to 17 U.S.C. § 407(a), are judicially noticeable. See, e.g., Oroamerica Inc. v.

16   D & W Jewelry Co., 10 F. App’x 516, 517 n.4 (9th Cir. 2001) (certificates of registration); Jim

17   Marshall Photography, LLC v. John Varvatos of California, 2013 WL 3339048, at *3 n.5 (N.D.

18   Cal. June 28, 2013) (same); UAB “Planner5D” v. Facebook, Inc., 2020 WL 4260733, at *6 n.5

19   (N.D. Cal. July 24, 2020) (deposit copy of work at issue); Newt v. Twentieth Century Fox Film

20   Corp., 2016 WL 4059691, at *2-3 (C.D. Cal. July 27, 2016) (same). Exhibits 1 to 3 are certified

21   Certificates of Registration obtained from the U.S. Copyright Office and bear the Copyright

22   Office’s certification. Similarly, Exhibit 7 is a certified deposit copy of the work “Chiggers”

23   obtained from the Library of Congress and bears the Library’s seal. Defendants thus respectfully

24   request that the Court take judicial notice of these documents and consider them in connection

25   with Defendants’ motion to dismiss.

26            Moreover, Exhibits A and B to the Complaint expressly refer to the copyright

27   registrations for the works at issue, including their copyright registration numbers. See ECF No.

28   1-1 at 3, 7–8, 10; ECF No. 1-2 at 3, 15–16, 19. Plaintiffs allege that Defendants infringed upon

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 1   the copyrights covered by these registrations. See ECF No. 1, Compl. ¶¶ 15–16; ECF No. 1-2 at

 2   3, 15–16, 19. Thus, the Certificates of Registration attached hereto as Exhibits 1 to 3 and the

 3   deposit copy attached hereto as Exhibit 7 are also incorporated by reference.

 4            Exhibits 4–6, posts on the social media website X, are judicially noticeable, because they

 5   appear on “publicly accessible websites whose accuracy and authenticity are not subject to

 6   dispute.” In re Facebook, Ing. Secs. Litig., 477 F. Supp. 3d at 1008. Courts within this District

 7   routinely take judicial notice of social media posts by parties, including posts from X, formerly

 8   known as Twitter. See, e.g., Veronica Foods Co. v. Ecklin, 2017 WL 2806706, at *4 (N.D. Cal.

 9   June 29, 2017); Shankar v. Zymergen Inc., 2022 WL 17259057, at *1 (N.D. Cal. Nov. 29, 2022);

10   Unsworth v. Musk, 2019 WL 5550060, at *4 (N.D. Cal. Oct. 28, 2019); Rock the Vote v. Trump,

11   2020 WL 6342927, at *3 (N.D. Cal. Oct. 29, 2020). Here, Defendants respectfully request that

12   this Court take judicial notice of three posts on X from Plaintiff Sarah Andersen’s official,

13   verified X account. See Exs. 4–6. Defendants seek judicial notice of these materials for the fact

14   that Plaintiff Sarah Andersen publicly shared the content of these posts on the date reflected in

15   those posts. See, e.g., Unsworth, 2019 WL 5550060, at *4; Rock the Vote, 2020 WL 6342927, at

16   *3.

17            For these reasons, Defendants respectfully request that the Court consider the above-

18   referenced documents in connection with Defendants’ Motion to Dismiss Plaintiffs’ Complaint.

19

20                                                 Respectfully submitted,

21   Dated: June 20, 2024                          WILSON SONSINI GOODRICH & ROSATI
                                                   Professional Corporation
22
                                                   By: /s/ David H. Kramer
23                                                       David H. Kramer
                                                         dkramer@wsgr.com
24                                                       Maura L. Rees
                                                         mrees@wsgr.com
25                                                       Eric P. Tuttle
                                                         eric.tuttle@wsgr.com
26

27                                                 Counsel for Defendants
                                                   GOOGLE LLC and ALPHABET INC.
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     CONSIDERATION
